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IN THE UNITED sTATEs DISTRICT coURT wasn sr sia/__ o.c
FoR THE wEsTERN DISTRICT oF TENNESSEE
WESTERN DIvlsloN 05 JUL -8 PH I¢= 51
m M. GU.t.D
JOHN ROEBUCK & ASSOCIATES INC. WD 3 *»"tl *"€f"iPH*S
PLAlNTn=F,
v. No. 04~3042_DR

JEFF B. RoBERTS; DUSTY BAKER
(dba GRAssLAND FARMS);

LARRY BAKER; YELLOW cREEK REALTY;

MARK L. sMITH; FIRST MISSOURI NATIONAL BANK;
N. WILLIAM PHILL]:PS

DEFENDANTS.

 

CONSENT ORDER OF DISMISSAL VVITH PREJUDICE

 

lt appears to the Court, by consent of the parties, that the matters and things in
controversy in this cause have been resolved and that this cause should be dismissed with
prejudice Wherefore, it is hereby

ORDERED that this cause is dismissed with prejudic

Date

%F/J/

Attomey for Plaintiffs

The Winchester Law Firm
chhard E. Charlton #7791
6060 Poplar Avenue, Suite 295
Mernphis, Tennessee 38119

This document entered on the docket she n compllsnoi 1 `
with Ru|e 53 and/or 79(3) FHCP on LZ%jLL § 0

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p/-r/¢-/p JM/¢/ ' lw. "
Attomey for Defendants Je B. Roberts,
Dusty Baker (dba Grassland Farms) and
Larry Baker and Yellow Creek Realty

T#nwr LW L, /m
Attorney for Defendants Mal'[< L. Srnith and
First Missouri National Bank

mims ,¢/vg~vr 1 /1¢¢
Attorney for Defendant N. illiam Phillips

 

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